Case 1:17-cv-05183-RML Document 76-1 Filed 05/12/20 Page 1 of 5 PageID #: 379




Carmen A. Nicolaou (CN-5518)
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Attorneys for Defendants
Michel S. Wang, Victoria Wang as
Trustee of The Richardson Irrevocable Trust,
Terrance Wu, and Deh-Jung Deborah Wang

 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------------------X
 EDWARD SHIN,                                                                  Docket No.: 1:17 CV-05183 (SMG)

                                             Plaintiff,                          ATTORNEY DECLARATION

                           -against-

 YSE ENTERPRISES, INC., MICHEL S. WANG, VICTORIA
 WANG as TRUSTEE OF THE RICHARDSON
 IRREVOCABLE TRUST, TERRANCE WU, DEH-JUNG
 DEBORAH WANG, AND YOUNK K. LEE,


                                              Defendants.
 ----------------------------------------------------------------------------X

        CARMEN A. NICOLAUO, ESQ., an attorney duly licensed to practice in the State of

New York and before the United States District Court Eastern District of New York, declares

under penalty of perjury pursuant to 28 U.S.C. 1746, as follows:


        1.       I am a Partner of the law firm Chartwell Law, attorneys for defendants MICHEL

S. WANG, VICTORIA WANG as TRUSTEE OF THE RICHARDSON IRREVOCABLE

TRUST, TERRANCE WU, DEH-JUNG DEBORAH WANG (hereinafter collectively “Wang

Defendants”). As such, I am fully familiar as with the facts and circumstances set forth herein.
Case 1:17-cv-05183-RML Document 76-1 Filed 05/12/20 Page 2 of 5 PageID #: 380




       2.      This declaration, as well as the accompanying exhibits, Affidavit of Michel Wang,

Rule 56.1 Statement of Facts, and Memorandum of Law are submitted in support of Wang

Defendants’ Motion for Summary Judgment pursuant to Fed. R. Civ. P. 56.

       3.      For a true and accurate copies of plaintiff’s Summons and Verified Complaint, th4e

Court is respectfully referred to Docket No: 1.

       4.      For a true and accurate copy of YS2 Enterprise Inc.’s Answer, the court is

respectfully referred to Docket No: 14.

       5.      For a true and accurate copy of YS2 Enterprises Inc.’s Third-Party Complaint

against the Wang Defendants and Young K. Lee, the Court is respectfully referred to Docket No:

20.

       6.      For a true and accurate copy of Plaintiff’s Amended Complaint adding the Wang

Defendants and Young K. Lee, the Court is respectfully referred to Docket No: 29.

       7.      For a true and accurate copy of Wang Defendants Answer to the Third-Party

Complaint, the Court is respectfully referred to Docket No: 31.

       8.      For a true and accurate copy of plaintiff’s Second Amended Complaint the Court

is respectfully referred to Docket No: 33.

       9.      For a true and accurate copy of Wang Defendants, YS2 Enterprises Inc., and Lee’s

respective Answers to the plaintiff’s Second Amended Complaint, the Court is respectfully

referred to Dockets Nos: 34, 37, 40, 42, 43, 44, and 46.

       10.     This motion is filed pursuant to the Court’s Order of January 22, 2020 and March

9, 2020. See Docket No: 71.

       11.     A true and accurate copy of Plaintiff’s First Set of Interrogatories dated October

31, 2018, in response to Wang Defendants Demand is annexed hereto as Exhibit A.
Case 1:17-cv-05183-RML Document 76-1 Filed 05/12/20 Page 3 of 5 PageID #: 381




       12.     A true and accurate copy of deposition transcript of Plaintiff, Edward Shin, held on

February 1, 2019, is annexed hereto as Exhibit B.

       13.     A true and accurate copy of deposition transcript of non-party witness, Daniel Park,

held on May 21, 2019, is annexed hereto as See Exhibit C.

       14.     A true and accurate copy of deposition transcript of non-party witness, John Kim,

held on May 21, 2019, is annexed hereto as Exhibit D.

       15.     A true and accurate copy of deposition transcript of Joshua So, who testified on

behalf of YS2 Enterprises Inc., held on March 15, 2019, is annexed hereto as Exhibit E.

       9.      A true and accurate copy of the deposition transcript of non-party witness Chung

K. Lee, held on May 28, 2019, is annexed hereto as Exhibit F.

       10.     A true and accurate copy of the security footage capturing the alleged incident is

annexed hereto as Exhibit G.

       11.     A true and accurate copy of the deposition transcript defendant Young K. Lee, held

on April 15, 2019 is annexed hereto as Exhibit H.

       12.     A true and accurate copy of plaintiff’s liability expert disclosure of William

Marletta, is annexed hereto as Exhibit I.


       13.     A true and accurate copy of photographs of the staircase marked as exhibits during

plaintiff’s deposition, are annexed hereto as Exhibit J.


       14.     A true and accurate copy of the deposition transcript of William Marletta, dated

December 16, 2019, is annexed hereto as Exhibit K.
Case 1:17-cv-05183-RML Document 76-1 Filed 05/12/20 Page 4 of 5 PageID #: 382




Dated: White Plains, New York
       April 3, 2020

                                   _________________________________
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                                   Attorneys for Defendants
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                                   IRREVOCABLE TRUST, TERRANCE WU, DEH-
                                   JUNG DEBORAH WANG
Case 1:17-cv-05183-RML Document 76-1 Filed 05/12/20 Page 5 of 5 PageID #: 383




                                CERTIFICATE OF SERVICE


       I, CARMEN NICOLAOU, ESQ., hereby certify that on September 27, 2019, the

foregoing document, ATTORNEY DECLARATION served in accordance with the Federal

Rules of Civil Procedure, and/or the Eastern District’s Local Rules, and/or the Eastern District’s

Rules on Electronic Service, and by electronic service, upon the following parties and participants:

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                                              __________________________________________
                                                 CARMEN NICOLAOU, ESQ. (CN-5518)
